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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov


    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

DEBTORS’ MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE REJECTION
OF CERTAIN EXECUTORY CONTRACT WITH TAC NEXEO HOLDINGS, LLC, ITS
    SUBSIDIARIES AND MEMBERS, EFFECTIVE AS OF OCTOBER 29, 2024

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (the “Motion”) for entry of an order,

substantially in the form attached hereto as Exhibit A (the "Rejection Order"), authorizing the

Debtors to reject a certain executory contract which is further described below (the “APA”)

effective as of October 29, 2024 (the “Rejection Effective Date”). In support of this Motion, the

Debtors respectfully represent as follows:

                                       JURISDICTION AND VENUE
             1.      The United States Bankruptcy Court for the Southern District of Florida (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

             2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

             3.      The statutory bases for the relief requested herein are sections 105 and 365(a) of

title 11 of the United States Code (the “Bankruptcy Code”), rules 6006 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).



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 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.


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                                        BACKGROUND

       4.      On October 28, 2024 (the “Petition Date”), the Debtors filed chapter 11 petitions

with this Court. The Debtors continue to operate their business and manage their affairs as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       5.      No committee or trustee has been appointed in these cases.

       6.      Information regarding the Debtors business and the filing of these cases is set forth

in the Declaration of Jonathan Feldman in Support of Chapter 11 Petitions and First Day Pleadings

[ECF no. 16] (“CRO Declaration”).

        7.     As of the Petition Date, Debtor ShiftPixy, Inc. (“ShiftPixy”), was and is a party

to an Asset Purchase Agreement dated March 29, 2024 (together with all amendments, including

the September 19, 2024 Amendment, the “APA”) with TAC Nexeo Holdings, LLC, together

with each of its subsidiaries as set forth herein that is a signatory Tower Arch Partners I, LP,

Tower Arch Partners I (Q), LP, TCN Holdings, LLC, Spencer Bautista and Shaun White

(collectively “Seller”), pursuant to which ShiftPixy agreed to purchase substantially all of

Sellers’ assets subject to the terms and conditions set forth in the APA.

        8.     The Debtors are moving towards and in the process of selling their core business.

See Expedited Motion for (I) Entry of an Order (A) Approving Certain Bidding Procedures and

Form and Manner of Notice Thereof (B) Scheduling an Auction and a Hearing on the Approval

of the Sale of or All or Substantially All of the Debtors' Remaining Assets, (C) Establishing

Certain Assumption and Assignment Procedures and Approving Manner of Notice Thereof, and

(D) Scheduling a Hearing to Approve Assumption and Assignment of the Assumed Contract (II)

Entry of an Order (A) Authorizing the Debtors' Entry Into an Asset Purchase Agreement; and

(B) Authorizing the Sale of All of Substantially All of the Debtors' Assets Frees and Clear of All



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Encumbrances; (C) Entry of an Order Approving the Assumptions and Assignment of the

Assumed Contracts and (IV) Related Relief [ECF No. 60].

                                    RELIEF REQUESTED

       9.      By this Motion, Debtors seek authority, pursuant to section 365(a) of the

Bankruptcy Code, to reject the APA. The Debtors have determined in their business judgment that

the APA is unnecessary to the administration of these Chapter 11 Cases and is burdensome to the

estates because ShiftPixy does not intend to proceed under the APA as a Buyer and wishes to allow

the Seller to explore alternative offers. The Debtors do not believe that the APA has any value that

can be achieved through assumption and assignment to a third party (which would require cure of

pre-petition defaults). Therefore, maintaining the APA would impose unnecessary cost and

burdens on the Debtors’ estates with no commensurate benefit.

       10.     The Rejection Effective Date is the date on which Seller received interest from

alternative purchasers, the day after the Petition Date. As such, the Trustee submits that rejection

retroactive to the Petition Date is appropriate. See, e.g., In re Manis Lumber Co., 430 B.R. 269,

277-78 (Bankr. N.D. Ga. 2009).

       11.     Section 365(a) of the Bankruptcy Code allows a debtor, subject to approval of the

bankruptcy court, to assume or reject any unexpired lease or executory contract. See Stewart Title

Guar. Co. v. Old Republic Nat’l Title Ins. Co., 83 F.3d 735, 741 (5th Cir. 1996); In re TOUSA,

Inc., 14-12067, 2015 WL 1346098, at *5 n. 3 (11th Cir. Mar. 26, 2015) (in dicta). “‘This provision

allows a [debtor] to relieve the bankruptcy estate of burdensome agreements which have not been

completely performed.’” Stewart Title, 83 F.3d at 741 (quoting In re Murexco Petrol., Inc., 15

F.3d 60, 62 (5th Cir. 1994)). A debtor’s decision to assume or reject an executory contract is

subject to the “business judgment” test. Byrd v. Gardiner, Inc. (In re Gardinier, Inc.), 831 F.2d

974, 976 n.2 (11th Cir. 1987); In re Surfside Resort and Suites, Inc., 325 B.R. 465, 469 (Bankr.

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M.D. Fla. 2005); In re Weaver Oil Co., Inc., 2008 WL 8202063 (Bankr. N.D. Fla. 2008); In re

Colony Beach & Tennis Club Ass’n, Inc., 2010 WL 746708, at *3 (M.D. Fla. Mar. 2, 2010). The

sole inquiry is whether assumption or rejection will benefit the estate. See id.

       12.     In applying the “business judgment” test, courts show great deference to a debtor’s

decision to assume or reject an executory contract. See In re Colony Beach & Tennis Club Ass’n,

Inc., 2010 WL 746708, at *3 (“A court may not substitute its judgment for that of a debtor unless

the debtor’s decision that ‘rejection will be advantageous is so manifestly unreasonable that it

could not be based on sound business judgment, but only on bad faith, whim, or caprice.’”)

(quoting Surfside Resort and Suites, 325 B.R. at 469 (internal citations omitted); Summit Land Co.

v. Allen (In re Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981) (absent extraordinary

circumstances, court approval of debtor’s decision to assume or reject an executory contract

“should be granted as a matter of course”). As long as the decision to assume or reject is a

reasonable exercise of business judgment, courts should approve the assumption or rejection of an

executory contract. See, e.g., NLRB v. Bildisco and Bildisco, 465 U.S. 513, 523 (1984); Group of

Institutional Investors v. Chicago M. St. P. & P. R. R. Co., 318 U.S. 523 (1943).

       13.     As discussed above, the Debtors plan to sell their business and do not intent to

proceed as a buyer pursuant to the APA. The Debtors have been in touch with Seller’s counsel

who has requested that the Debtors seek the relief requested herein to allow them to engage with

other interested buyers, especially since Debtors have no ability to cure the pre-petition defaults

and no intention of assuming the APA. As such, the Seller has expressly consented and stipulated

to the relief sought herein.

       14.     As such, rejection of the APA effective as of Rejection Effective Date is a decision

made in the sound exercise of the Debtors’ business judgment, that is, a decision that will benefit

the Debtors’ estates.

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                                RESERVATION OF RIGHTS

       15.     Nothing contained herein is intended or should be construed as prejudicing any

rights the Debtors may have to dispute or contest (i) whether the Rejected Contracts are actually

executory contracts that are subject to assumption or rejection under section 365 of the Bankruptcy

Code, or (ii) the amount of, or basis for, any claims asserted against the Debtors arising in

connection with the rejection of the Rejected Contracts, or as an admission as to the validity or

priority of any claim against the Debtors. Further, nothing contained herein is intended or should

be construed as an admission of the validity of any claim against the Debtors, a waiver of the

Debtors’ or any other party’s rights to dispute any claim, or an approval or assumption of any

agreement, contract, or lease under Bankruptcy Code section 365 other than the Contract that is

the subject to this Motion.

                                            NOTICE

       The Debtors have provided notice of this Motion to (a) the Office of the United States

Trustee for the Southern District of Florida; (b) the Seller under the APA; and (c) all parties that

have requested or that are required to receive notice pursuant to Bankruptcy Rule 2002. The

Debtors submit that, under the circumstances, no other or further notice is required

       WHEREFORE, the Debtors respectfully request that the Court enter an order, in

substantially the form attached hereto as Exhibit A, granting the relief requested herein and

granting such other and further relief to which the Debtors may be justly entitled.


       Dated: December13, 2024




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                                      /s/ Isaac Marcushamer
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                                      Florida Bar No. 0843571
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                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a copy of the Motion was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 13 th day of December, 2024.

                                      /s/ Isaac Marcushamer
                                      Isaac Marcushamer, Esq.
                                      Florida Bar No. 0060373




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                EXHIBIT A




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                            UNITED STATES BANKRUPTCY COURT
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In re:                                                      Chapter 11

SHIFTPIXY, INC. et, al.1                                    Case No. 24-21209-LMI

      Debtors.                                              (Jointly Administered)
_______________________________/

         STIPULATED ORDER AUTHORIZING THE REJECTION OF CERTAIN
          EXECUTORY CONTRACT WITH TAC NEXEO HOLDINGS, LLC, ITS
         SUBSIDIARIES AND MEMBERS, EFFECTIVE AS OF OCTOBER 29, 2024

         Upon consideration of the motion (the “Motion”)2 of Debtors for the entry of an order,

pursuant to sections 105(a) and 365(a) of the Bankruptcy Code, authorizing the Trustee to reject


1
  The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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the APA, effective as of October 29, 2024 (the “Rejection Effective Date”); and the Court having

reviewed the Motion; and the Court having found and concluded that (i) it has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2)(A), (iii) venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and

1409, (iv) notice of the Motion was sufficient under the circumstances, and (v) the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and this

Court having determined that granting the relief requested in the Motion as set forth herein is in

the best interests of the Debtors, the Estates and their creditors; and after due deliberation and

sufficient cause appearing therefore;

          IT IS HEREBY ORDERED THAT:

          1.         The Motion is GRANTED as set forth herein.

          2.         This Order shall be immediately effective and enforceable upon its entry.

          3.         Pursuant to sections 105(a) and 365(a) of the Bankruptcy Code and Bankruptcy

Rule 6006, the APA, to the extent not already terminated in accordance with its applicable terms

or upon agreement of the parties, is hereby rejected by the Debtors, with such rejection being

effective as of the Rejection Effective Date.

          4.          The Rejection Effective Date is the day after the Petition Date, and in light of the

Debtors’ decision to sell its business herein, rejection retroactive to this date is appropriate.

          5.         If the Debtors have deposited monies with a counterparty to the APA as a security

deposit or other arrangement, such counterparty may not setoff or recoup or otherwise use such

deposit without the prior authority of this Court.

2
 Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms in the
Motion.




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          6.          The Debtors are authorized to execute and deliver all instruments and documents

and take such other actions as may be necessary or appropriate to implement and effectuate the

relief granted by this Order.

          7.          The Debtors do not waive any claims that they may have against the

counterparties to the Rejected Contracts, whether or not such claims are related to the Rejected

Contracts.

          8.          Seller reserves all rights, claims, defenses, and other remedies that may be

available to it under applicable law and the APA in connection with the Debtors’ rejection and

pre-petition breaches thereof.

          9.          The requirements in Bankruptcy Rule 6006 are satisfied or otherwise waived.

          10.         Notwithstanding any provision in the Bankruptcy Rules to the contrary: (i) this

Order shall be effective immediately and enforceable upon its entry; and (ii) the Debtors are not

subject to any stay in the implementation, enforcement, or realization of the relief granted in this

Order.

          11.         This Court retains jurisdiction with respect to all matters arising from or related to

the implementation or interpretation of this Order.

                                                       ###

Submitted by:
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[Isaac M. Marcushamer, Esq. is directed to provide a copy of this signed Order to all parties of
record and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days
of entry of this Order]




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